                  Case 3:17-cv-01584-SB                Document 1     Filed 10/06/17     Page 1 of 19



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                                     UNITED STATES DISTRICT COURT

                                                DISTRICT OF OREGON

                                                PORTLAND DIVISION

      EASYPOWER, LLC, an Oregon limited                           Case No.
      liability company,
                                                                  COMPLAINT
                                          Plaintiff,              (Breach of Contract; Misappropriation of
                                                                  Trade Secrets; Breach of Fiduciary Duty;
                       v.                                         Interference with Contract/Prospective
                                                                  Economic Relations; Fraud; Federal Civil
      TECHNICAL DATA COLLECTION INC.,                             RICO - 18 USC § 1964)
      an Oregon corporation; RON
      LEVASSEUR; TRACY SCHROCK; and                               Jury Trial Requested
      ALEXANDER MAUREEN SCHROCK,

                                          Defendant.




                       Plaintiff, EasyPower, LLC alleges as follows:

                                     FACTS COMMON TO ALL CLAIMS
                                                             1.

                       Plaintiff EasyPower, LLC ("EasyPower") is an Oregon corporation with its

      principal place of business in Washington County, Oregon.                  EasyPower designs and sells




     Page 1 -   COMPLAINT



P:\DOCS\EASYP\42098\PLDG\3R5483902.DOC
                Case 3:17-cv-01584-SB        Document 1      Filed 10/06/17   Page 2 of 19




      electrical software tools for designing, analyzing, and monitoring electrical power systems, and

      also performs engineering and project services for its customers.

                                                      2.

                     Defendant Technical Data Collection Inc. ("TDCI") is an Oregon corporation with

      its principal place of business in Clackamas County, Oregon.

                                                      3.

                     Defendants Ron Levasseur ("Levasseur"), Tracy Schrock ("T. Schrock") and

      Alexander Maureen Schrock ("Mo Schrock") reside in Clackamas County, Oregon. Levasseur,

      T. Schrock and Mo Schrock (T. Schrock and Mo Schrock are collectively referred to herein as

      the "Schrocks") are principals of TDCI and are jointly and severally responsible for the actions

      of TDCI, as alleged herein.

                                                      4.

                     This Court has jurisdiction over this action pursuant to 28 USC § 1331 and 18

      USC § 1964. This Court has supplemental jurisdiction over the state law claims under 28 USC §

      1367. Venue is proper in this Court pursuant to 28 USC § 1391 because the causes of action

      described herein arose in Washington County, Oregon.

                            EasyPower's Business & Levasseur's Employment
                                                      5.

                     On or about February 9, 2015, EasyPower hired Levasseur to be its Senior

      Technical Sales Engineer.      In connection with his employment, Levasseur executed and

      delivered to EasyPower an Employee Agreement setting forth the terms and conditions of his

      employment ("Employee Agreement"), a true copy of which is attached hereto as Exhibit 1.

      Pursuant to the Employee Agreement, Levasseur agreed to devote his full business time and

      energy to EasyPower and further agreed not to disclose EasyPower's trade secrets, or to use




     Page 2 -   COMPLAINT



P:\DOCS\EASYP\42098\PLDG\3R5483902.DOC
                Case 3:17-cv-01584-SB        Document 1      Filed 10/06/17     Page 3 of 19




      EasyPower's trade secrets for any reason other than in the performance of his job duties for

      EasyPower.

                                                      6.

                     On information and belief, following Levasseur's commencement of employment

      with EasyPower, and as a condition of Levasseur's continued employment by EasyPower,

      Levasseur executed and delivered to EasyPower a Nondisclosure/Nonsolicitation/Ownership of

      Inventions Agreement ("Non-Solicitation Agreement") pursuant to which Levasseur confirmed

      his obligation not to use or disclose any confidential or proprietary information belonging to

      EasyPower, and agreed not to solicit any customers or employees of EasyPower during the term

      of his employment with EasyPower and for the 24 months following termination of his

      employment with EasyPower.         A true copy of the Non-Solicitation Agreement EasyPower

      believes Levasseur executed is attached hereto as Exhibit 2.

                                                      7.

                     Levasseur was promoted to the Vice President of Sales of EasyPower on June 29,

      2015. Levasseur voluntarily resigned his position with EasyPower on or about August 25, 2017,

      effective September 8, 2017. Levasseur was relieved of any obligation to perform his duties for

      EasyPower on August 31, 2017.
                                                      8.
                     EasyPower has a number of trade secrets, as that term is defined in ORS

      646.461(4), including, but not limited to, its software, its engineering services, the design and

      systems associated with its software and engineering services, its engineering services and know-

      how, its marketing strategies, its pricing strategies, its methods, research, processes, formulas,

      security measures, and its customer list and non-public information about its customers

      (collectively "Trade Secrets"). EasyPower's Trade Secrets derive independent economic value

      from not being generally known to the public or to other persons who can obtain economic value




     Page 3 -   COMPLAINT



P:\DOCS\EASYP\42098\PLDG\3R5483902.DOC
                Case 3:17-cv-01584-SB        Document 1        Filed 10/06/17    Page 4 of 19




      thereform. EasyPower takes, and since at least 2015 has taken, reasonable steps to maintain the

      secrecy of its Trade Secrets.

                                                      9.

                       In his position at EasyPower, Levasseur had access to EasyPower's Trade

      Secrets. Pursuant to the Employee Agreement and Non-Solicitation Agreement (collectively

      "Agreements"), Levasseur agreed not to use EasyPower's Trade Secrets for any purpose except

      the furtherance of EasyPower's business, and further agreed not to disclose EasyPower's Trade

      Secrets to any person or entity.

                                                     10.

                     EasyPower strictly controls the sale of its software. It does not permit any person

      or entity to resell or assign its software or licenses thereto without EasyPower's express written

      consent. EasyPower does not sell its software to its competitors, and it does not allow the

      assignment of its software except under very limited circumstances involving a merger or

      acquisition of a licensee. Levasseur was well aware of these policies and restrictions.

                                                     11.

                     EasyPower also carefully controls the pricing of its software. It does not discount

      its software except for select circumstances, including when a customer is converting from the

      software sold by EasyPower's competitors.            For customers converting from competitors,

      EasyPower occasionally offers its software at a discounted price.           EasyPower informed

      Levasseur of this policy early in his employment and he was well aware of this restriction

      throughout the remainder of his employment.


                Levasseur & TDCI's Improper Purchase and Sale of EasyPower's Software
                                                     12.

                     On or about June 29, 2015, Levasseur and T. Schrock incorporated TDCI.

      Levasseur's incorporation of TDCI was a breach of the Employee Agreement because Levasseur


     Page 4 -   COMPLAINT



P:\DOCS\EASYP\42098\PLDG\3R5483902.DOC
                Case 3:17-cv-01584-SB        Document 1     Filed 10/06/17     Page 5 of 19




      was required to devote his work solely to the benefit of EasyPower. Levasseur did not disclose to

      his supervisors at EasyPower that he was an incorporator, owner or in any way affiliated with

      TDCI.

                                                    13.

                     On December 15, 2015, Levasseur created a quote from EasyPower to TDCI for

      EasyPower's software ("Original Quote"). The Original Quote contains the following language:


                     EasyPower makes all software referred to in this quote available to
                     customers exclusively pursuant to the terms of EasyPower's license
                     agreement [a copy of which is available upon request].
                     EasyPower's acceptance of any purchase order for EasyPower
                     software is expressly conditioned on customer's agreement that
                     notwithstanding any terms to the contrary contained in any
                     purchase order issued by customer: (a) Customer will become a
                     party to and be bound by the license agreement for all EasyPower
                     software and (b) The license agreement shall be the sole and
                     exclusive agreement between the parties governing customer's use
                     of the EasyPower software and the rights of the parties therein,
                     including all intellectual property rights.

                                                    14.

                     On February 11, 2016, using EasyPower's computer systems and competitor

      invoices that EasyPower had received from other customers to support the discount EasyPower

      occasionally offered to existing customers of competitors, Levasseur created a false invoice from

      a competitor to TDCI dated January 9, 2014, to create the appearance that TDCI had been

      invoiced and paid the competitor a maintenance fee of $1,500. TDCI did not exist in January

      2014 and, on information and belief, TDCI never purchased software from, or paid any

      maintenance fee to, this competitor. This false invoice was created solely for the purpose of

      defrauding EasyPower.      Using his EasyPower email address, Levasseur emailed the false

      competitor invoice to his personal email.




     Page 5 -   COMPLAINT



P:\DOCS\EASYP\42098\PLDG\3R5483902.DOC
                Case 3:17-cv-01584-SB       Document 1     Filed 10/06/17    Page 6 of 19




                                                   15.

                     On that same day, again using EasyPower's computer systems, Levasseur created

      a purchase order from TDCI to EasyPower for the EasyPower software which included the

      discounted purchase price of $1,500. Using his EasyPower email address, Levasseur emailed the

      TDCI purchase order to his personal email.

                                                   16.

                     On February 11, 2016, Mo Schrock of TDCI sent the false competitor invoice

      identified in paragraph 14, above, and the TDCI purchase order referred to in paragraph 15

      above, via email to Levasseur at his EasyPower email address to purchase the discounted

      software. On February 12, 2016, Levasseur sent those same documents to an EasyPower Sales

      Assistant via email for processing.

                                                   17.

                     On February 12, 2016, at Levasseur's direction, EasyPower employees with no

      knowledge of Levasseur's role in TDCI, or the fraudulent nature of the competitor invoice to

      TDCI, created an invoice from EasyPower to TDCI for the EasyPower software, reflecting a

      discount that is available only to new customers who are transitioning from competitor software

      to EasyPower software.      Levasseur caused EasyPower to transfer the EasyPower software,

      License F2-92322-7A ("License 1") to TDCI. Pursuant to the Original Quote, TDCI's issuance,

      and EasyPower's acceptance, of the purchase order identified in paragraphs 15 and 16, above,

      and/or by TDCI's installation of the EasyPower software on its computers, TDCI accepted and

      agreed to abide by the EasyPower License Agreement ("EULA"), a true copy of which is

      attached hereto as Exhibit 3.

                                                   18.

                     On or about April 15, 2016, TDCI purported to transfer License 1 to Weatherford

      International, Inc., and communicated this purported transfer to Levasseur via email. This



     Page 6 -   COMPLAINT



P:\DOCS\EASYP\42098\PLDG\3R5483902.DOC
                Case 3:17-cv-01584-SB         Document 1       Filed 10/06/17      Page 7 of 19




      transfer violated the EULA and was both a breach of the EULA and ineffective because the only

      EasyPower representative who consented to the transfer was Levasseur and Levasseur did not

      have authority to consent to this transfer of License 1 because the transfer violated EasyPower's

      policies. Levasseur and TDCI had actual knowledge that the transfer of License 1 violated

      EasyPower's policies and was not within Levasseur's actual authority.                   Weatherford

      International, Inc. paid TDCI consideration in exchange for the transfer of License 1.

                                                       19.

                     On or about August 9, 2016, TDCI issued a second purchase order to EasyPower

      to purchase EasyPower's software at a $5,000 discount. Mo Schrock of TDCI sent a purchase

      order for this software to Levasseur at Easy Power. Levasseur directed EasyPower's Sales

      Assistant, via email, to process the purchase order. On August 10, 2016, EasyPower issued an

      invoice to TDCI, as directed by Levasseur, for $5,000, reflecting a $5,000 discount. EasyPower

      did not consent to this sale of its software to TDCI, did not agree to a sale at the discounted price,

      and Levasseur did not tell EasyPower about his relationship with TDCI in connection with this

      sale.

                                                       20.

                     On August 30, 2016, TDCI issued a Notice of Assignment, assigning its rights to

      License Number K2-62974-2G ("License 2") to Siemens in Kansas, and sent the purported

      assignment to Levasseur at EasyPower via email. This transfer violated the EULA and was both

      a breach of the EULA and ineffective because the only EasyPower representative who consented

      to the transfer was Levasseur and Levasseur did not have authority to consent to this transfer of

      License 2 because the transfer violated EasyPower's policies. Levasseur and TDCI had actual

      knowledge that the transfer of License 2 violated EasyPower's policies and was not within

      Levasseur's actual authority. Siemens paid TDCI consideration in exchange for the transfer of

      License 2.



     Page 7 -   COMPLAINT



P:\DOCS\EASYP\42098\PLDG\3R5483902.DOC
                Case 3:17-cv-01584-SB        Document 1     Filed 10/06/17     Page 8 of 19




                                                     21.

                     On or about August 30, 2016, TDCI issued another purchase order to EasyPower

      for two licenses of its EasyPower software and one license of its OnSite software. Levasseur

      caused EasyPower to fulfill this purchase order. Levasseur communicated with Mo Schrock of

      TDCI regarding this purchase via email.

                                                     22.

                     On or about August 31, 2016, Levasseur caused EasyPower to issue an invoice to

      TDCI for $5,250, representing the sale of two additional licenses of the EasyPower software, and

      one license of the OnSite software, all at a significant discount. Levasseur caused EasyPower to

      transfer two additional licenses (License Numbers D2-75726-1L & A2-96638-4B) ("Licenses 3

      and 4") to its software, and one license for its OnSite software (License Number A2-74478-1E)

      ("OnSite License"), to TDCI.       This sale violated EasyPower's policies and was, therefore,

      beyond Levasseur's actual authority.       Levasseur and TDCI knew that the sale violated

      EasyPower's policies. Consequently, both the sale and the discount reflected on the invoice were

      neither authorized nor agreed to by EasyPower.

                                                     23.

                     On September 13, 2016, Levasseur caused EasyPower to issue an invoice to

      TDCI for $3,000, representing the sale of two additional licenses at a significant discount.

      Levasseur caused EasyPower to transfer two additional licenses (License Numbers Q2-84392-7J

      & B2-18853-3G) ("Licenses 5 and 6") of its software to TDCI. This sale violated EasyPower's

      policies and was, therefore, beyond Levasseur's actual authority. Levasseur and TDCI knew that

      the sale violated EasyPower's policies. Consequently, both the sale and the discount reflected on

      the invoice were neither authorized nor agreed to by EasyPower. TDCI paid for Licenses 5 and

      6 via a credit card which was processed via a telephone call from TDCI to EasyPower.




     Page 8 -   COMPLAINT



P:\DOCS\EASYP\42098\PLDG\3R5483902.DOC
                Case 3:17-cv-01584-SB        Document 1       Filed 10/06/17    Page 9 of 19




                                                      24.

                     On May 9, 2017, Levasseur caused EasyPower to issue a quote to TDCI for

      twelve unlimited licenses to EasyPower's software at a discount of $126,000. Levasseur sent this

      quote to TDCI via email. On June 28, 2017, Levasseur sent an email to Mo Schrock of TDCI

      stating that the quote sent on May 9, 2017, was extended for a period of 270 days. Levasseur did

      not have authority from EasyPower to offer this discount or quote to TDCI because the quote and

      discount violated EasyPower's policies because they were made to a competitor, Levasseur had

      not disclosed his relationship with TDCI and because Levasseur had falsely represented to the

      President of EasyPower that he was offering the same, full price quote to all parties bidding on a

      specified contract, when, in fact, he offered this massive discount to TDCI.

                                                      25.

                     As a result of TDCI's and Levasseur's wrongful purchase, use and assignment of

      EasyPower's software, EasyPower has been damaged in a sum not less than $90,250.

                               Levasseur's and TDCI's Improper Diversion
                               of EasyPower's Engineering Services Projects
                                                      26.

                     In addition to providing its software modules, EasyPower also provides

      engineering services to its customers. During the course of his employment with EasyPower,

      inquiries for engineering services from customers and prospective customers were directed to

      Levasseur, as the Vice President of Sales for EasyPower.

                                                      27.

                     Beginning in October 2015, Levasseur began a campaign of diverting

      opportunities for EasyPower to provide engineering services to its customers to TDCI.

      Levasseur's conduct included, but is not limited to, the following:

                     a.      Levasseur forwarded emails received from potential customers and

      prospects who were requesting bids on engineering services to Levasseur's personal email


     Page 9 -   COMPLAINT



P:\DOCS\EASYP\42098\PLDG\3R5483902.DOC
                 Case 3:17-cv-01584-SB      Document 1      Filed 10/06/17    Page 10 of 19




      account, in violation of the Agreements.

                     b.      Levasseur prepared and submitted bids to customers and prospective

      customers on behalf of EasyPower that were intentionally high, and subsequently prepared and

      submitted bids by TDCI that deliberately undercut EasyPower's bids. For example, Levasseur

      provided a bid to an EasyPower customer for engineering services for $79,000, and then TDCI

      subsequently provided a bid to the same customer for the same services for $69,000.

                     c.      Levasseur falsely represented to customers and prospective customers that

      EasyPower and TDCI were partners or otherwise working together.

                     d.      Levasseur directed EasyPower employees to provide services and

      information to him, which TDCI then used to compete with EasyPower.

                     e.      Levasseur failed to either prepare bids for EasyPower in response to

      requests from customers and prospective customers, failed to conduct required site visits and/or

      failed to send bids prepared by EasyPower to customers and prospective customers, instead

      permitting only TDCI to bid on the prospective project.

                     f.      Levasseur directed a representative of EasyPower to generate engineering

      services work for TDCI, and directed the EasyPower representative to use a system paid for by

      EasyPower to generate this work for TDCI.

                     g.      Levasseur directed a third party to perform work for TDCI at EasyPower's

      expense.

                                                     28.

                     Levasseur's diversion of TDCI's customers and prospective customers, as outlined

      above, was committed using EasyPower's email systems. In particular, Levasseur diverted

      emails to TDCI by emailing customer inquiries received by EasyPower to his personal email;

      Levasseur transmitted bids (including fraudulently high bids he prepared on behalf of

      EasyPower) via email; and Levasseur communicated with EasyPower's customers and



     Page 10 - COMPLAINT



P:\DOCS\EASYP\42098\PLDG\3R5483902.DOC
               Case 3:17-cv-01584-SB        Document 1      Filed 10/06/17    Page 11 of 19




      prospective customers via email.

                                                     29.

                     Levasseur and TDCI could not provide many of the engineering services that they

      have offered and performed without the use of EasyPower's software, which TDCI obtained

      through fraudulent means, as explained in paragraphs 12 through 25, above.

                                                     30.

                     As a result of TDCI and Levasseur's improper diversion of EasyPower's

      opportunity to perform engineering services, EasyPower has been damaged as detailed below.

                                         FIRST CLAIM FOR RELIEF

                              (Breach of Contract - Against Levasseur Only)
                                                     31.

                     EasyPower realleges the allegations set forth in paragraphs 1 through 30 and

      incorporates them herein by reference.

                                                     32.

                     Levasseur's conduct, as alleged in paragraphs 12 through 30, constitutes a breach

      of the Agreements.

                                                     33.

                     EasyPower has suffered damages in a sum not less than $161,789 as a result of

      Levasseur's breach of the Agreements.

                                                     34.

                     Pursuant to the Employee Agreement, EasyPower is entitled to recover its

      attorneys' fees and costs incurred herein from Levasseur.




     Page 11 - COMPLAINT



P:\DOCS\EASYP\42098\PLDG\3R5483902.DOC
               Case 3:17-cv-01584-SB        Document 1      Filed 10/06/17    Page 12 of 19



                                     SECOND CLAIM FOR RELIEF

                    (Breach of Contract / Specific Performance - Against TDCI Only)
                                                    35.

                     EasyPower realleges the allegations set forth in paragraphs 1 through 30 and

      incorporates them herein by reference.

                                                    36.

                     TDCI agreed to the terms of the EULA when it received quotes for EasyPower's

      software from EasyPower, issued purchase orders for EasyPower's software to EasyPower and/or

      when it installed the EasyPower software on its computers. The EULA provides that EasyPower

      is permitted to terminate the licenses to the EasyPower software ("Licenses") if EasyPower

      determines, in its reasonable judgment, that TDCI failed to comply with the terms, conditions

      and obligations under the EULA.

                                                    37.

                     TDCI breached the EULA by reselling and assigning EasyPower's software to

      Weatherford International, Inc. and Siemens, as alleged in paragraphs 18 and 20, above. TDCI

      also breached the representation it made in the EULA that it was not a direct competitor of

      EasyPower. EasyPower has determined, in its reasonable judgment, that TDCI failed to comply
      with certain terms, conditions and obligations under the EULA, including, but not limited to, the

      competitor limitation, the non-transferability and non-assignment provisions of the EULA. As a

      result, and pursuant to Section 3.3 of the EULA, EasyPower terminated TDCI's rights to use the

      Licenses.

                                                    38.
                     EasyPower has also terminated TDCI's right to use the Licenses on the grounds

      that TDCI obtained the EasyPower software by false pretenses as alleged in paragraphs 12

      through 25, above.




     Page 12 - COMPLAINT



P:\DOCS\EASYP\42098\PLDG\3R5483902.DOC
               Case 3:17-cv-01584-SB         Document 1     Filed 10/06/17     Page 13 of 19




                                                     39.

                     Pursuant to Section 3.4 of the EULA, TDCI must cease all use of EasyPower's

      Software and associated Deliverables (as those terms are defined in the EULA), including all

      copies, and must return all Deliverables, including, but not limited to, the physical USB license

      keys for all of the Licenses, along with all printed materials and documentation, to EasyPower.

                                                     40.

                     On or about September 13, 2017, EasyPower notified TDCI that it had terminated

      the licenses as outlined above and permitted by the EULA, and demanded that TDCI cease all

      use of the Software and the Software and Deliverables to TDCI. TDCI has failed and refused to

      return the Software and Deliverables to EasyPower.

                                                     41.

                     EasyPower is entitled to a judgment from this Court requiring TDCI to

      specifically perform the EULA and return the Software and Deliverables to EasyPower.

      EasyPower has no adequate remedy at law.

                                                     42.

                     EasyPower has been damaged in an amount to be proven at trial by TDCI's breach

      of the EULA.

                                                     43.

                     Pursuant to the EULA, EasyPower is entitled to collect its attorneys' fees and

      costs incurred herein from TDCI.

                                         THIRD CLAIM FOR RELIEF

                      (Misappropriation of Trade Secrets - Against All Defendants)
                                                     44.

                     EasyPower realleges the allegations set forth in paragraphs 1 through 30 and

      incorporates them herein by reference.



     Page 13 - COMPLAINT



P:\DOCS\EASYP\42098\PLDG\3R5483902.DOC
               Case 3:17-cv-01584-SB        Document 1       Filed 10/06/17     Page 14 of 19




                                                     45.

                     Levasseur's, TDCI's and the Schrocks' conduct, as described above, constitutes

      misappropriation of EasyPower's Trade Secrets under ORS 646.641, et seq.

                                                     46.

                     EasyPower has suffered damages as a result of defendants' misappropriation of its

      Trade Secrets in an amount to be proven at trial, but not less than $161,789.

                                                     47.

                     Pursuant to ORS 646.463, EasyPower is entitled to both a temporary and

      permanent injunction prohibiting defendants from continuing to misappropriate and/or use

      EasyPower's Trade Secrets.

                                                     48.

                     Defendants' conduct in misappropriating EasyPower's trade secrets was willful

      and/or malicious under ORS 646.465, and EasyPower is entitled to recover punitive damages.

                                                     49.

                     Pursuant to ORS 646.467, EasyPower is entitled to recover it attorneys' fees and

      costs herein from defendants.

                                      FOURTH CLAIM FOR RELIEF

                           (Breach of Fiduciary Duty - Against Levasseur Only)
                                                     50.

                     EasyPower realleges the allegations set forth in paragraphs 1 through 30 and

      incorporates them herein by reference.

                                                     51.

                     As an employee of EasyPower, Levasseur owed EasyPower a fiduciary duty

      during the course of his employment with EasyPower which required that Levasseur act for the




     Page 14 - COMPLAINT



P:\DOCS\EASYP\42098\PLDG\3R5483902.DOC
               Case 3:17-cv-01584-SB        Document 1       Filed 10/06/17    Page 15 of 19




      benefit of EasyPower, not for his own personal benefit, or the benefit of his affiliates, while he

      was employed with EasyPower.

                                                      52.

                     Levasseur's conduct, as described in paragraphs 12 through 30, above, constitutes

      a breach of his fiduciary duty to EasyPower, including the sale of EasyPower's software at

      improper discounts, the disclosure of EasyPower's Trade Secrets and the improper diversion of

      EasyPower's opportunities to sell its engineering services and its software to its customers and

      prospective customers. In committing all of these actions, Levasseur acted solely for his own

      personal benefit, to the significant detriment of EasyPower.

                                                      53.

                     As a result of Levasseur's breach of his fiduciary duty, EasyPower has been

      damaged in the sum of not less than $161,789.

                                         FIFTH CLAIM FOR RELIEF

         (Interference with Contract/ Prospective Economic Relations - Against All Defendants)
                                                      54.

                     EasyPower realleges the allegations set forth in paragraphs 1 through 30, above,

      and incorporates them herein by reference.

                                                      55.

                     Defendants' conduct, as particularly alleged in paragraphs 12 through 30, above,

      interfered with EasyPower's relationships with its customers and prospective customers.

                                                      56.

                     Defendants' interference with EasyPower's contracts with its customers and its

      prospective economic relationships was committed for the improper purpose and/or improper

      motive of diverting economic opportunities directed to and owned by EasyPower to defendants

      for defendants' economic benefit.



     Page 15 - COMPLAINT



P:\DOCS\EASYP\42098\PLDG\3R5483902.DOC
               Case 3:17-cv-01584-SB          Document 1     Filed 10/06/17    Page 16 of 19




                                                      57.

                     EasyPower was damaged by defendants' interference with its contracts and

      prospective economic relationships in an amount to be proven at trial, but not less than $161,789.

                                         SIXTH CLAIM FOR RELIEF

                                     (Fraud - Against All Defendants)
                                                      58.

                     EasyPower realleges the allegations set forth in paragraphs 1 through 30 and

      incorporates them herein by reference.

                                                      59.

                     Defendants' representations to EasyPower regarding TDCI's purchase of a

      competitor's software and payment of a maintenance fee to a competitor were false statements of

      fact. TDCI's representation in the EULA was also a false statement of fact. Defendants knew

      that their above-referenced representations were false when they made them, and they made the

      representations with the intent that EasyPower would rely upon them.

                                                      60.

                     EasyPower was ignorant of the falsity of defendants' representations, and

      EasyPower had a right to rely upon defendants' representations.

                                                      61.

                     EasyPower has been damaged in an amount to be proven at trial, but not less than

      $161,789 as a result of defendants' fraudulent representations.

                                                      62.

                     Defendants' fraudulent representations were willful and malicious. EasyPower is

      entitled to recover punitive damages.




     Page 16 - COMPLAINT



P:\DOCS\EASYP\42098\PLDG\3R5483902.DOC
               Case 3:17-cv-01584-SB         Document 1       Filed 10/06/17     Page 17 of 19



                                     SEVENTH CLAIM FOR RELIEF

                              (Federal Civil RICO - Against All Defendants)
                                                      63.

                     EasyPower realleges the allegations set forth in paragraphs 1 through 30 and

      incorporates them herein by reference.

                                                      64.

                     Defendants fabricated a scheme to intentionally deceive and defraud EasyPower

      by creating fraudulent invoices that purported to be issued by a competitor, by representing

      TDCI to be an independent entity that was not a competitor of EasyPower, by failing to disclose

      that TDCI was owned and/or operated by Levasseur and T. Schrock, by failing to disclose that

      TDCI intended to transfer the Licenses it obtained from EasyPower to other entities in violation

      of the EULA and EasyPower's policies, by failing to disclose that TDCI intended to use the

      Licenses to compete with EasyPower, by diverting business inquiries and opportunities directed

      to EasyPower without EasyPower's or the customer's knowledge or consent and by

      misrepresenting the relationship between EasyPower and TDCI.

                                                      65.

                     In furtherance of the fraudulent scheme and using interstate wires, defendants sent
      the fraudulent competitor invoice, and numerous purchase orders from TDCI which were based

      on the false representation that TDCI was entitled to a significant discount on the purchase price

      of EasyPower's software because TDCI was converting from a competitor's software via email to

      EasyPower. Defendants also sent the software and USB license keys to customers via the U.S.

      Postal Service or other interstate carrier. At all times, defendants intended to deceive and
      defraud EasyPower by obtaining its software at significant discounts to which defendants were

      not entitled, and by diverting its corporate opportunities without authority.




     Page 17 - COMPLAINT



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               Case 3:17-cv-01584-SB          Document 1        Filed 10/06/17     Page 18 of 19




                                                        66.

                      The defendants have engaged on two or more occasions in the use of the United

      States mail and/or use of United States interstate wires for the purpose of executing the

      fraudulent scheme described in paragraphs 63 and 64, above. Defendants' actions, as alleged

      above, constitute a pattern of "racketeering activity," as that term is defined in 18 USC §

      1961(1)(B), and violate 18 USC § 1962. TDCI is an "enterprise" as that term is defined in 18

      USC § 1961(4).

                                                        67.

                      EasyPower has been damaged by defendants' fraudulent scheme and pattern of

      racketeering activity, as described above. Pursuant to 18 USC § 1964, EasyPower is entitled to

      recover its actual damages from defendants in a sum not less than $161,789, plus treble damages.

                                                        68.

                      Pursuant to 18 USC § 1964, EasyPower is entitled to recover its attorneys fees

      and costs incurred herein.

                                         JURY TRIAL REQUESTED

                                                        69.

                      Pursuant to Fed. R. Civ. P. 38(b), plaintiff hereby demands a trial by jury.

                      WHEREFORE, EasyPower LLC prays for judgment in its favor and against

      defendants as follows:

                      1.       On its First and Fourth Claims for Relief, for a judgment against defendant

      Levasseur in an amount to be proven at trial, but not less than $161,789, plus interest on that sum

      at the statutory rate of 9% from the date of loss until paid in full;

                      2.       On its Third, Fifth and Sixth Claims for Relief, for a judgment against all

      defendants jointly and severally in an amount to be proven at trial, but not less than $161,789,

      plus interest on that sum at the statutory rate of 9% from the date of loss until paid in full;



     Page 18 - COMPLAINT



P:\DOCS\EASYP\42098\PLDG\3R5483902.DOC
               Case 3:17-cv-01584-SB         Document 1      Filed 10/06/17     Page 19 of 19




                      3.     On its Second Claim for Relief, for a judgment against TDCI for an

      amount to be proven at trial, and for a judgment for specific performance requiring that TDCI

      return EasyPower's software and associated deliverables, including all USB keys and documents,

      to EasyPower;

                      4.     On its Seventh Claim for Relief, for a judgment against all defendants

      jointly and severally in an amount to be proven at trial, but not less than $161,789, plus interest

      on that sum at the statutory rate of 9% from the date of loss until paid in full, plus treble

      damages;

                      5.     On its Third Claim for Relief, for an injunction prohibiting defendants

      from using or disclosing EasyPower's Trade Secrets;

                      6.     For a judgment against all defendants, jointly and severally, for its

      attorneys fees and costs incurred herein; and

                      7      For such other relief as the Court deems just and equitable.



                      DATED this 6th day of October, 2017.


                                                       FARLEIGH WADA WITT



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     Page 19 - COMPLAINT



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